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(SEE A TTACHED SCHEDULE)

CONDITIONAL TRANSFER ORDER (CTO-]4)

 

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On l"ebruary 16, 2005, the Panel transferred l38 civil actions to the United States Distric§jourt §§ the_€>
Eastern District ofl,ouisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 542 additional actions have been transferred to the Eastem District of
Louisiana. With the consent ofthat court, all such actions have been assigned to the ll`onorable Eldon E.
Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 ofthe Rules of Procedure ofthe .ludicial Panel on l\/lultidistrict Litigation, l99
F.R.D. 425,435-36(2001), these actions are transferred under 23 U.S.C. § 1407 to the Eastern District
oflsouisiana for the reasons stated in the order ofFebruary l6, 2005, 360 F.Supp.?,d 1352 (J.P.M.L.
2005), and, with the consent ofthat court, assigned to the Honorable Eldon E. Fallon.

'l`his order does not become effective until it is filed in the Office ofthe Clerk ofthe United States
District Court for the Eastern District ofLouisiana. The transmittal ofthis order to said Clerk shall be
stayed fifteen (I 5) days from the entry thereof and if any party files a notice of opposition with the Clerk
oftlie Panel Within this fifteen (l 5) day period, the stay will be continued until further order ofthe Panel.

FOR THE PANEL:

Wll ASL¢JL

Mi@ha@i J."Beck

 

 

 

Clerk ofthe Panel

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pending at this time, the

stay is lin@d. _ A TRUE COPY
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SCHEDULE CTO-l4 - TAG-AL()NG ACTIONS
I)OCKET NO. 1657
IN RE VIOXX PRODUCTS LIABILITY LITIGATION

 

§)_IS_TD_V. CA, ii CASE CAPT!ON

.ALABAMA NORTHERN
ALN l 05~917 Robert Abernathey, etc. vi Mercl< & Co`, lnc
AI.N 2 05-890 Dawn Kirkland v. Mercl-< & Co., lnc.
ALN 6 05-906 - Wilbur Clifford Davis v. Merck & Co., lnc.
Al.N 6 05-907 Douglas l\/chrthur Foster v. Merck & Co., lnc

ALABAMA SOU'l`llERN _ y
ALS l 05-277 Hershel Carl Martin, Jr., et all v. Merck & Co., lnc

ARKANSAS EASTERN
ARE 3 05-9(} Stephen Cool< v. Mercl< & Co., lnc
ARE 5 05»14] Willlarn Beck v. Mercl-; & Co,, lnc.

ARKANSAS WESTERN
ARW 6 05-6036 lohn Munro, etal. v. Mercl<&Co., lnc

CALlFORNlA CENTRAL y
CAC 2 05~157`0 Grant Desmet, et al, v. Merck & Co., lnc
CAC 2 05-3106 Scott Blair v, Merck 81 Co., lnc.

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CAE 2 05-9]4 Carol Davidson, et al. v. Merck & Co., lnc.

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CAN 3 05-1039 Bijuli Pande v. Merck & Co., lnc.
CAN 3 05-1838 Glen Martin, et al. v. Merck & Co., lnc,
CAN 3 05-1339 Roy J` Gramlich v. Merck & Co,, lnc.
CAN 4 135-1947 l-loward Mathews, et al. v. Merck & Co., Inc.

CALI FORNIA SOUTHERN
CAS 3 95 943 Aiviu ‘v}v!l'iiimua \ rlv'iclt..i\ ge Cu.., 1'11\..1;,1 ni. OppOSCd 6/2‘5|/05
CAS 3 {1“5 944 rv'ia'lgm\.i Sic,111 \.1\'1!,1\.1\ & Cu. lu\,. ., 1.1 ai. Opp()$€d 6/24/05
Gr"’\lt`:r 3 65 945 Giin Aleicmuu v. 1v1c1\,i\1g'. Ct). , w ai. OppOSCd 6/24/05
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CAS 3 95 g~ig iliidaA r1111ch11a v. 1v1c.11\,i\ ge CU. ixl\. , L.l ai OPPOS€d 6/24/05
C!A\S 3 65 949 P\ui,`n,:'f 1 bvc:quc v.1v11,1\.i\ 11 Cu., 111\, ct ui. OppOS€Cl 6/24/05
CAS 3 95 953 Ciau\.._y Luciii\. iiviiuv\uy v. }v{\_,u..i\o ue Cu ,E\U`E OppOSCd 61"|24»"05
ClA\S 3 65 95l Laula iv'iai‘tiim.'_ v. i\v'icn,i\ ge Cu. , 111\,.c1ui.0pp05€d 6/241]05
CAS 3 %5*952 Lw..ia 1131ku v fvl’cl\,i\ & Cu., 1'111...,\:1 dl. OppOSEd 6/24!05
C:A\S 3 95 953 {lcuit. 111 ulUC: v 1v1\.,1\.,i\ ge C\r,j 1111.,.l 1.1 m, OppOS€d 6/24/05
CAS 3 95 954 f R\)b\.l " tch QBIIU v.1v1\.,1\.,i\ ge CLI.,I 111\.., iii Ul. OppOSCd 6/24/05
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CAS 3 05 953 A1111c1 Lcllunuua v. rvlcl\.i'\ age C\J., }Iu,., \.i. ai. OppOSEd 6/24/05
CAS 3 135 959 R.i\,‘r`:mdnucvwlrv. 1v11.1\..i\ &Cu., Li. ai. OppOS€d 6/24/05
CAS 3 85 963 Aida H\'. culmva v. lvlcll.i\ & Cu., illu., ti ui. OppOSEd 6/24/05
{:AS 3 05 96} li "ll'm vt.,y P\.,l:l'l v. fv‘lc..x\.i\ 131 Cv,, Iut,., v...€ air OppOS€d 6/24/'05
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FLM 2 05-202 .`; `, _§ Robert l_ane v. Mercl< & Co., lnc. 05_2895

Fl,l\/I 3 05-374 I` l\/lary Ann Cantwell v. Merck & Co\, lnc. 05__28 96

FLM 8 05-77'3 Ruby White v. Merck & Co., lnc., et al. 05__28 97

FLM 8 053-902 Sigmund T\ Kraszka, et al. v. l`vlerck & Co., lnc 05_28 98
FLORIDA NORTHERN

FLN 3 05-153 lane C. Baker, etc. v. Merck & Co., lnc. 05_2899
FLORIDA SOUTHERN

FLS 0 05-60121 Abigail Altu v. Merck & Co., lnc. t 05_29

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GEORGIA MlDDLE

GAl'\/l 5 05-137 Marinda Wiley v. Merck & Co., lnc. 05_2903

GAM 6 05-19 loe A. Braswell v. Mercl< & Co., lnc. 05_2904
GEORGIA NORTHF_RN

GAN 1 05-1125 Clarencc L, Carr v. Merck & Co.j lnc. 0 522 9 05
GEORGlA SOUTHERN

GAS 2 05-8'1' Melvie Whltehead v. Merck & Co., lnc. 05_2906

GAS 2 05-88 Mary C. Washington v. Mercl< & Co., lnc. 05_2907

GAS 2 05-89 lsouise H. Dallas v. Merck & Co., lnc. 05__2908

GAS 5 05-33 _i l,inda L. Poo|e v, Merck & Co., lnc. ` 05_2909

GAS 5 05-34 Lavada Sears v. Merck & Co., lnc. ` 05__2910
lOWA SOUTHERN

IAS 4 05-153 lames B. Smith, etc. v, Mercl< & Co`, lnc. 05_29ll
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lD l 05-162 l Calvin KLnghorn v. Merck & CO., IHC» 05-2912
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lLN 1 05-2715 Edward Lee Barrow, etc. v. Merck & Co., lnc. `- 05..2913

lLN l 05-274<1 l Aldo Calandra, et al. v. Mercl< & Co., lnc, 05_2914
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ll,S 3 05-328 Marilyn Fleming v. Merck& Col, lnc. 05_2915

Il.S 3 05-330 l Gary Willis v. Mercl< & Co, lnc. 1 05_2916

lLS 3 05-340 1 Nancy Marcum v. Merck & Co., lnc. 05__2917

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KS 2 05-2189 Nancy L. Brockschmidt, etc. v. Merck & Co., lnc. 05_2918
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LAM 3 05-312 =` Lynois LeBeau, et al. v. Mercl< & Co., lnc. 05_2919

LOUISIANA WESTERN
I.AW 2 05-827 Geneva Thibodeaux, et al., et al. v. Merck & Co., lnc. 05_2920

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CASE CAPT]ON 1

Eleanor Campana]c, etc v. Merck & Co`, lnc

Marie Slanley v. Mercl< & Cc)., lnc.

Commonwealrh Care Alliance, et al. v. Merck & Co,, lnc
Jc:anette Anderson, etc v. Merck & CO., lnc.

Sadle M. Testerman v. Merck & C()., lnc.
Hugh Nicholson, et al. v. Merck & Co., lnc.

Lydia Chowning, etc. v. Merck & CO., Inc.

 

 

 

 

 

 

 

 

 

 

 

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1\1OE 4 05-630 Lavona Nea!, et al. v. Merck & CO., Inc,, et al.
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MOE 4 05-667 Margaret Molder, et 211. v. Mcrck & Co., Inc., er al.
11101; 151 05 668 ?\‘101) Bc.um)u, cf 131 \. 1"/'11,1\~1\ 11 Cu., '11“.., vi a}. OppOS€d 628/05
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Susan Carol Fisher v. Merck & Co., lnc.

Ferdinand Mimbauer v. Merck & Co., Inc.

Magda Wrighl, elc. v. Merck & Co., Inc

John Col]igan v. Merck & Co., et al.

William R. Crounse, el aI. v. Mcrcl-; & Co., Inc.

Djane Reid v. Mcrck & Co., 1nc., et al.

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CASE CAPT]ON

Denzc`l Mahon, et al_ v. Merck & Co,, lnc.
Eugene Hamilton v_ Merck & Co_, lnc.

Virginia Green v. Mcrck & Co., Inc.

Laura Grodek, et al_ v. Merck & Co., Inc.
Julian D. Cohen, et al. v. Merck & Co., lnc.
Char]es R. Wireman, et al. v. Merck & Co., lnc,

Mary Rose Couch, 121 al. v. Mcrck & Co., Inc., el a].
Judith K. Drum v_ M€rck &, CO., lnc.

De}oris Ivers, er al. v. Merck &. Co., Inc.

Steven Knicely, el a]. v. Merck & Co., lnc.

I-ynda Richardson, etc. v_ Mcrck & Co.: Inc., et aI.
Nancy Brenner, et al. v. Merck & Co., lnc., et aI.
Hemy J. Myers, el 31. v. Merck &. Cc)., lnc.

Delores M. Korman, et a[. v. Merck & Co., lnc.
Scott E. French, et 31. v. Merck & CO., Inc.

Roben E. Pierson, et al. v. Merck & Co., Inc.
Frederick Biam:hinc)1 Jr., et al. v. Merck & C{)., lnc.
Donaid Payne, et al. v. Merck & Co., Inc., et al.

Bemard L. Hc)l]eran, M.D. v. Mcrc|< &_ CO., lnc.
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Marl< A. Roberson v. Mercl-; & Co., lnc.

Mickey E Cunningham, cl al. v. Merck & Co., lnc. `\
Herbert L. Cannon, et al. v. Mcrck & CO., lnc.
Wendy A. Burke v. Merck & Co., Inc.

1101-rains Sawyer, etc. v. Merck & CO., lnc.

BetTy Efaine Kreider, el al. v. Merck & Cc)., Inc., el al.
Evelyn S. Ellison v. Mcrck & Co., Inc., et al.

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Kellah M. Allgoc)d, et al. v. Merck & Co., Inc.. et 111
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Pansy Adams, er al. v. Ivierck & Co., lnc. 1

Jlmmy E. Davis v_ Merck & Co., Inc.

Ambrose S. Chalam v. Mcrck & CO., lnc. 1
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WIW 3 05-78 Jam'ce Lane, etc. v. Merck & Co., Inc. 05~_2975

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